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                        THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


  SYMBOLOGY INNOVATIONS, LLC,
         Plaintiff
                                                     Case No. 2:23-cv-00436-JRG
                v.
  SMOOTHIE KING
  FRANCHISEES, INC.
          Defendant.



     JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Symbology

Innovations, LLC (“Plaintiff”) and Defendant Smoothie King Franchises, Inc. (“Defendant”)

hereby stipulate and agree:

               1.     All claims asserted by Plaintiff in the above-captioned action are hereby

dismissed with prejudice.

               2.     Each party shall bear its own attorneys’ fees, costs, and expenses in

connection with this action.


Dated: December 6, 2023

/s/ Christopher A. Honea                        /s/ Eric Pinker, P.C.
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                                               Facsimile: 214-981-3839
ATTORNEYS FOR PLAINTIFF
                                               ATTORNEYS FOR DEFENDANT


                              CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy has been electronically filed using the
CM/ECF filing system on December 6, 2023, which automatically sends email notifications to
all counsel of record and which will permit viewing and downloading of same from the CM/ECF
system.
                                             /s/ Christopher A. Honea
                                             Christopher A. Honea
